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  8
  9                                    UNITED STATES DISTRICT COURT
 10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
 12 AERIAL WEST, LLC,                                      Case No. 2:18-cv-02288-JAK-SS
 13                           Plaintiff,
                                                           STIPULATION TO EXTEND TIME
 14               v.                                       FOR DEENDANT DRONE WORLD,
                                                           LLC TO RESPOND TO INITIAL
 15 DRONE WORLD, LLC, STEPHEN                              COMPLAINT BY NOT MORE THAN
    PAUL MCKENNA, and DOES 1-10,                           30 DAYS (L.R. 8-3)
 16 Inclusive,
                                                           Complaint served:      March 22, 2018
 17                           Defendant.                   Current Response Date: April 12, 2018
                                                           New Response Date:     May 11, 2018
 18
 19
 20              Pursuant to Local Rule (“L.R.”) 8-3, Plaintiff Aerial West, LLC (“Plaintiff”),
 21 and Defendant Drone World, LLC (“Defendant”) stipulate and agree as follows:
 22              a.           Plaintiff contends that Defendant was served with the Summons and
 23 Complaint in this case on March 22, 2018, such that its response to the Complaint
 24 was due April 12, 2018;
 25              b.           Defendant has agreed to stop importing, making or having made,
 26 advertising, offering for sale or selling any of the accused products in this matter;
 27              c.           Defendant will retain custody of any of the accused products still in its
 28 possession, custody or control during the pendency of this litigation;


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  1              d.           Defendant has implemented and will maintain a litigation hold during
  2 the pendency of this litigation;
  3              e.           Defendant has represented to Plaintiff that Defendant is actively
  4 preparing a settlement offer with the assistance of counsel, which will be sent to
  5 Plaintiff’s counsel soon; and
  6              f.           In light of the foregoing, Defendant shall have an extension of time to
  7 file a response to Plaintiff’s Complaint up to and including Friday, May 11, 2018.
  8                The new response date of May 11, 2018 constitutes an extension of not more
  9 than 30 days, so this extension does not require an Order of the Court.
 10              IT IS SO STIPULATED.
 11
 12 Dated: April 27, 2018                                  ZUBER LAWLER & DEL DUCA LLP
 13                                                        ROBERT W. DICKERSON
                                                           THOMAS F. ZUBER
 14                                                        MEREDITH A. SMITH
 15
 16
                                                     By:         /s/ Robert W. Dickerson*
 17
                                                           Attorneys for Plaintiff Aerial West, LLC
 18
 19
 20 Dated: April _27__, 2018                               QUINTANA LAW GROUP,
                                                           APC
 21
                                                           ANDRES F. QUINTANA
 22
 23
 24                                                  By:         /s/ Andres Quintana
 25                                                        Attorneys for Defendant Drone World,
                                                           LLC
 26
 27 *Pursuant to Local Rule 5-4.3.4(a)(2)(i), the Filer hereby attests that all other
    signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
 28 content and have authorized its filing.


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